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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF NEW JERSEY


 JEFFREY HALE, individually and on behalf             Case No. 2:17-cv-02447-JMV-MF
 of all others similarly situated,

                        Plaintiff,                    AMENDED CLASS ACTION
                                                      COMPLAINT
 v.

 CREDITORS RELIEF, LLC, a New Jersey                  JURY TRIAL DEMANDED
 limited liability company.

                        Defendant.

                                CLASS ACTION COMPLAINT

       Plaintiff Jeffrey Hale (“Hale” or “Plaintiff”) brings this Class Action Complaint and

Demand for Jury Trial (“Complaint”) against Defendant Creditors Relief LLC (“Creditors

Relief” or “Defendant”) to stop Creditors Relief from directing its agents to violate the

Telephone Consumer Protection Act by making unsolicited, autodialed calls to consumers

without their consent, and to otherwise obtain injunctive and monetary relief for all persons

injured by Defendant’s conduct. Plaintiff, for his Complaint, alleges as follows upon personal




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knowledge as to himself and his own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by his attorneys.

                                          INTRODUCTION

          1.      Creditors Relief offers debt relief options to businesses all over the United States.

On the website creditorsrelief.com, Defendant claims that it has “settled millions of dollars”1 for

businesses that were struggling with debt.

          2.      The CEO of Creditors Relief is Michael Lupolover, of the Law Offices of

Michael Lupolover. On his law website, Lupolover states, “In addition to representing

consumers against debt collectors, we also represent businesses with regard to debt negotiation,

settlement, and litigation.”2

          3.      On his website http://www.lupoloverlaw.com, Lupolover has his address listed as

“120 Sylvan Ave Suite 300 Englewood Cliffs, NJ 07632”. This is the same address listed on the

CreditorsRelief.com website:


                                                                             3


          4.      Creditors Relief is just one of a number of entities Lupolover created in order to

market his debt relief programs as is seen on the Connecticut Department of Banking website:



                                                                                                       4




1
    https://creditorsrelief.com/
2
    http://www.lupoloverlaw.com/practice/ada/
3
    https://creditorsrelief.com/
4
    http://ct.gov/dob/cwp/view.asp?a=2246&q=504098


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         5.     Upon information and belief, Lupolover directs his staff to purchase lists of

business leads generated by third parties and to cold call them repeatedly using an automatic

dialing system – not withstanding a lack of consent from the call recipients, including many

registered on the National Do Not Call Registry and/or that have otherwise expressly demanded

that Lupolover’s agents stop calling them.

         6.     In response to these calls, Plaintiff files this lawsuit seeking injunctive relief,

requiring Defendant to cease directing its agents to violate the Telephone Consumer Protection

Act, 47 U.S.C. § 227 (“TCPA”) by placing unsolicited calls to consumers’ cellular telephone

numbers using an automatic telephone dialing system as well as an award of statutory damages

to the members of the Class and costs.

                                              PARTIES

         7.     Plaintiff Jeffrey Hale is a natural person who resides at 110 E. Center St., #1000,

Madison, South Dakota 57042.

         8.     Defendant Creditors Relief is a limited liability company incorporated and

existing under the laws of the State of New Jersey.5 Its principal office address is 120 Sylvan

Ave. Ste. 300, Englewood Cliffs, New Jersey 07632.6 Defendant does business throughout the

United States, including in the State of New Jersey and in this District.

                                  JURISDICTION AND VENUE

         9.     This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331,

as the action arises under the TCPA, which is a federal statute for which there is federal question

jurisdiction.


5
    https://www.njportal.com/DOR/BusinessNameSearch/Search/BusinessName.
6
 https://bbb.org/new-jersey/business-reviews/credit-and-debt-counseling/creditors-relief-in-
englewd-clfs-nj-90104223/reviews-and-complaints.


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       10.     This Court has personal jurisdiction over Defendant and venue is proper in this

district because Defendant resides in this District and because the wrongful conduct giving rise

to this case occurred in, was directed from, and/or emanated from this District.

                                 COMMON ALLEGATIONS

Creditors Relief Markets Its Services by Obtaining Lists of Leads and Repeatedly

Autodialing Them Without Consent

       11.     Defendant’s marketing plan directs agents to market its debt assistance options to

businesses through unsolicited, autodialed calls to cellular phone numbers and other telephone

numbers registered on the DNC.

       12.     In a job posting on Indeed.com, Defendant admits to using an autodialer that is

used to make 150+ calls a day:




                                                                                             7


       13.     Given the high number of calls being made a day, per agent, it is no surprise to

find that there are numerous complaints posted online about these autodialed, unwanted calls:

               •   “Asked to speak to a business owner. Used a name clearly obtained from
                   some list (used the owner’s full name, including middle initial). Asked for
                   voicemail. When told we don’t have voicemail, they would not leave a
                   message. Googling indicates the call is likely from Creditors Debt Relief.
                   The sounds of a busy call center in the background could be heard”8
               •   “Weekly calls placed to our business asking to speak with a specific Manager.
                   Calls typically consist of a 3-4 second lag time before a person comes on the

7
  https://www.indeed.com/cmp/Premier-Pro-Management/jobs/Inside-Phone-Sales-
ba57a9033443983e
8
  http://800notes.com/Phone.aspx/1-201-266-5241.


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                   line along with very loud voices in the background indicating a boiler room
                   call center. Caller identifies their business name as “Creditor’s Relief” who
                   offer high interest “loans” to small businesses. Despite asking every caller
                   from this sham organization to remove our Company from their call sheet, the
                   calls continue. Scum telemarketers who violate the Do Not Call Registry. Do
                   not do business with them.”9
               •   “The number has called my home several times.”10
               •   “201 956 6966 She said that loan was filed with the UCC Uniform
                   Commerical Code with the US government. That’s interesting cause I don’t
                   have a loan or business.”11
               •   “Calls then hangs up within 2 rings. Calls back, answer, no one there and
                   hangs up. Never leaves message.”12
               •   “Incessant, aggravating, daily calls from 201-266-5241. They claim to be
                   “Creditors Relief”. Our company has no need for their services and we have
                   asked to be removed from their call sheet numerous times, but they ignore the
                   requests.”13

       14.     By placing the unsolicited telephone calls at issue in this Complaint, Defendant

caused Plaintiff and the other members of the Class actual harm and cognizable legal injury.

       15.     This includes the aggravation and nuisance and invasions of privacy that result

from the unsolicited autodialed telephone calls that are being made to cellular phones, and a loss

of the use and enjoyment of their phones, including wear and tear to the related data, memory,

software, hardware, and battery components, among other harms.

       16.     In response to Defendant’s unlawful conduct, Plaintiff files this action seeking an

injunction requiring Defendant to cease all unwanted autodialed call activities and an award of

statutory damages to the members of the Class under the TCPA.

                               PLAINTIFF’S ALLEGATIONS

       17.     On March 8, 2017 at 8:51 AM, Defendant placed an autodialed call to Plaintiff’s




9
  Id.
10
    http://whocallsme.com/Phone-Number-aspx/2019566966.
11
   . http://www.scammer.info/d/434-advance-fee-business-loans/18.
12
    http://800notes.com/Phone.aspx/1-866-831-6477
13
    http://www.whycall.me/201-266-5241.html


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cellular telephone number using phone number 201-956-6966.

       18.     When Plaintiff answered the call on his cellular telephone, he noticed a 1-3

second pause before being connected to a live agent. Such a pause is indicative of the Defendant

using a prohibited autodialer.

       19.     Creditor’s Relief solicited the Plaintiff on the March 8, 2017 call for debt relief

programs.

       20.     For the sole purpose of ascertaining who was calling him, and to therefore get the

company to stop calling his cellular phone number, Plaintiff asked Creditors Relief to send him

an email during the March 8, 2017 conversation. Shortly thereafter, Creditors Relief sent the

Plaintiff the following email:




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        21.        Plaintiff does not own a business and has no need for Creditors Relief’s debt-

relief services.

        22.        Plaintiff has never provided his phone number to Defendant or any other party

from which Defendant’s agents may have purchased leads for businesses that require debt

solutions. Simply put, Hale has never provided his prior express written consent to Defendant to

place solicitation telephone calls to him.

        23.        The unauthorized telephone calls made by Creditors Relief agents to the

Plaintiff’s cellular telephone, as alleged herein, have harmed Plaintiff in the form of annoyance,

nuisance, and invasion of privacy, and disturbed his use and enjoyment of his cellular phone, in

addition to the wear and tear on the phone’s hardware (including the phone’s battery) and the

consumption of memory on the phones.

        24.        Seeking redress for these injuries, Plaintiff, on behalf of himself and Class of

similarly situated individuals, brings suit under the Telephone Consumer Protection Act, 47

U.S.C. § 227, et seq., which prohibits unsolicited autodialed voice calls to cellular telephones.

                                  CLASS ACTION ALLEGATIONS

Class Treatment Is Appropriate for Plaintiff’s TCPA Claim Arising From an Autodialed
Call Made by Defendant to Plaintiff’s Cellular Number

        25.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure
23(b)(2) and Rule 23(b)(3) on behalf of himself and all others similarly situated and seeks
certification of the following Class:

              Autodialed No Consent Class: All persons in the United States from four years
              prior to the filing of this action through the present who (1) Defendant (or an
              agent acting on behalf of Defendant) called, (2) on the person’s cellular
              telephone, (3) using an autodialer, and (4) for whom Defendant claims (a) they
              obtained prior express written consent in the same manner as Defendant claims
              they supposedly obtained prior express written consent to call the Plaintiff, or
              (b) they did not obtain prior express written consent.




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       26.     The following individuals are excluded from the Class: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, its

subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents

have a controlling interest and their current or former employees, officers and directors; (3)

Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Class; (5) the legal representatives, successors or assigns of any such excluded persons;

and (6) persons whose claims against Defendant have been fully and finally adjudicated and/or

released. Plaintiff anticipates the need to amend the Class definition following appropriate

discovery.

       27.     Numerosity: On information and belief, there are hundreds, if not thousands of

members of the Class such that joinder of all members is impracticable.

       28.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the Class, and those questions predominate over any

questions that may affect individual members of the Class. Common questions for the Class

include, but are not necessarily limited to the following:

               (a) whether Defendant’s conduct constitutes a violation of the TCPA;

               (b) whether Defendant utilized an automatic telephone dialing system to make
                   their calls to Plaintiff and the members of the Class;

               (c) whether Defendant made autodialed telephone calls to Plaintiff and members
                   of the Class without first obtaining prior express written consent to make the
                   calls; and

               (d) whether members of the Class are entitled to treble damages based on the
                   willfulness of Defendant’s conduct.

       29.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Class, and has retained counsel competent and experienced in class




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actions. Plaintiff has no interests antagonistic to those of the Class, and Defendant has no

defenses unique to Plaintiff. Plaintiff and his counsel are committed to vigorously prosecuting

this action on behalf of the members of the Class, and have the financial resources to do so.

Neither Plaintiff nor his counsel has any interest adverse to the Class.

       30.     Appropriateness: This class action is also appropriate for certification because

Defendant has acted or refused to act on grounds generally applicable to the Class and as a

whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the members of the Class and making final class-wide injunctive relief

appropriate. Defendant’s business practices apply to and affect the members of the Class

uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with

respect to the Class as wholes, not on facts or law applicable only to Plaintiffs. Additionally, the

damages suffered by individual members of the Class will likely be small relative to the burden

and expense of individual prosecution of the complex litigation necessitated by Defendant’s

actions. Thus, it would be virtually impossible for the members of the Class to obtain effective

relief from Defendant’s misconduct on an individual basis. A class action provides the benefits

of single adjudication, economies of scale, and comprehensive supervision by a single court.

Economies of time, effort, and expense will be fostered and uniformity of decisions will be

ensured.

                                  FIRST CAUSE OF ACTION

                            Telephone Consumer Protection Act
                                (Violation of 47 U.S.C. § 227)
                (On Behalf of Plaintiff and the Autodialed No Consent Class)

       31.     Plaintiff repeats and realleges paragraphs 1 through 30 of this Complaint and

incorporates them by reference herein.




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        32.      Defendant and/or its agents agent transmitted unwanted solicitation telephone

 calls to cellular telephone numbers belonging to Plaintiff and the other members of the

 Autodialed No Consent Class using equipment that, upon information and belief, had the

 capacity to store or produce telephone numbers to be called, using a random or sequential

 number generator, and/or receive and store lists of phone numbers, and to dial such numbers, en

 masse, without human intervention.

        33.      At no time did Defendant obtain prior consent from the Plaintiff orally or in

 writing to receive solicitation telephone calls. Also, at no time did Defendant obtain prior express

 written consent that contained a disclosure informing Plaintiff or any other consumer that

 agreeing to receive solicitation telephone calls was not a condition of the purchase of any

 property or service.

        34.      Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a result of

 Defendant’s conduct, Plaintiff and the other members of the Autodialed No Consent Class are

 each entitled to, under 47 U.S.C. § 227(b)(3)(B), a minimum of $500.00 in damages for each

 violation of such act.

        35.      In the event that the Court determines that Defendant’s conduct was wilful and

 knowing, it may, under 47 U.S.C. § 227(b)(3)(C), treble the amount of statutory damages

 recoverable by Plaintiff and the other members of the Autodialed No Consent Class.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the

 following relief:

              A. An order certifying this case as a class action on behalf of the Class as defined

                 above, appointing Plaintiff as the representative of the Class, and appointing his




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                attorneys as Class Counsel;

            B. An award of actual and statutory damages to be paid into a common fund for the

                benefit of Plaintiff and the Class;

            C. An order declaring that Defendant’s actions, as set out above, violate the TCPA;

            D. A declaratory judgment that Defendant’s telephone calling equipment constitutes

                an automatic telephone dialing system under the TCPA;

            E. An injunction requiring Defendant to cease all unsolicited calling activity, and to

                otherwise protect the interests of the Class;

            F. An injunction prohibiting Defendant from using, or contracting the use of, an

                automatic telephone dialing system without obtaining, and maintaining records of,

                call recipient’s prior express written consent to receive calls made with such

                equipment; and

            G. Such further and other relief as the Court deems necessary.

                                  DEMAND FOR JURY TRIAL

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff, on behalf of

 himself and all others similarly situated, demands a trial by jury on all questions of fact raised

 by the Complaint.

 Dated: June 20, 2018

                                               DeNITTIS OSEFCHEN PRINCE, P.C.

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                        CERTIFICATION PURSUANT TO L. CIV. R. 11.2

        I certify that, to the best of my knowledge, this matter is not the subject of any other

 action pending in any court or of any pending arbitration or administrative proceeding.


 Dated: June 20, 2018                          DeNITTIS OSEFCHEN PRINCE, P.C.

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